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       Case: 1:15-cv-04361 Document #: 23 Filed: 05/19/16 Page 1 of 1 PageID #:110


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                                         appears. be s,;i'e to unchecx the
                                         A,rnciaticns option


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                                                          NoRrurnx DrsrRrcr or Iluxols                                                         ttlAy   I g Z0B
                                                  Waiver of Service of Summons
                                                                                                                                     IAlPlrtls e.


          1. Dr. S. Obaisi                                                                                .   acknorvledge receipt ofyour rcquest
                                             (   DU[i   fi\ D.\\'r N.\\l   ti   )




                                                                                         Danell Fair v Anna McBee. et al
that I rvaive service of suntmons in the action                                     of
                                                                                                         lCAPl   lO\   OF   :\CTIO\)

which is case number                                                 l   5c436r                                in the United States District Court
                                                                 (DO('Kti I \L\lllL_Rr

tor the Nofthern District              of   Illinois.

          I have also received a copy of the complaint in the action. trvo copics of this instntment. and a means
bl which I can retum the signed       rvaiver to you without cost to me.

       I agree to save the cost of service of a summons and an additional copy of the complaint in this larvsuit
b.r.. not requiring that I (or the entity on rvhose behalf I am acting) be served rvith judicial process in the
manner provided by Rule 4.

      I (or the entity on whose behalf I am acting) will retain all defenses or objections to the lawsuit or to the
jurisdiction or venue of the court except flor objections based on a defect in the summons or in the service
 of the summons.

          I understand that        a   judgment may be entered against me (or the parfy on rvhose behalf I am acting)                                         if
anansrverormotionunderRulet2isnotserveduponyouwithin60daysuft",&,
                                                                                                                                (DATti RIQU[:ST W,\S SEN I)

or within 90 days aftcr that date if the request was sent outside the United States.



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         slrln"                                                            furj-tryd,a**-

As
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                                         Duty to Avoid l.lnnecessary Costs of Sen'ice of Summons
       Rule'1oftheI'cdcralRulesofCivilProcedurercquiresceflarnpanrcstocooperatcinsavingunncccssan                          costsofseniceolthe
sr.unmonsandcomplaint. i\dctbndantlocatedinthetlnitcdStatEsrvho,alierbeingnotitiedofanactionandaskedbvaplaintitTlocatcd
ln thc tJnitedStates to wai\e service ol'sumnrons, fails to tlo so will bc recluired to bcar the cost o{'such scrvicc unlcss good cause be shorvn
tirr its tailure to sign and rcturn the rrarver.

       It is not good cause tirr a t'nilure t() $aive sen'ice that a partl' believes that thc cornplairrt is unfounded, or that thu action has bccn
brouglrt in an improper placr or in a court that lacksjurisdiction over thc subjcct mattcr ofthe aotlon or ol'er its person or propcrlv.
,\ pirrtl rrho rrarves s('rvice ot'the sunrmtxs retains all dcfenses and objections {c\cept any relating to the summons or to the scrvice
olthe sumrrous). and nrar- later ohjcct to the junsdiction of'thc court or to the place nhere the rction has treen brerught.

          .,\ defcndaut rvho *aires serrrcc musl rvrthin the time specified on thc u'airer lorm serve on the plaintilfs attorne! (or
unrepresented plaintitt) a responsc to thc complaint and must also tile a signed copv olthc rcsponse uith the court. Il'the answer or
nrotion rs not scr\ cd rr ith in th is tinrr'. u de triult judgnrent m av be takcn against that tletcndant. B-v w atving scrr rce. a de tcndant is allot ed
more timc to ans\\er lhan ii'the sunlrnons had bcen rrctualll scrred whcn rhc rcquest tbr rraircr olservice il,as reccived.
